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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              NORTHERN DIVISION

UNITED STATES OF AMERICA,                     Case No. 2:20-pt-3

                      Plaintiff,              Hon. Janet T. Neff
                                              U.S. District Judge
        v.

DERRICK M. CORN,

                      Defendant.
                                          /

                               ORDER OF DETENTION

        Defendant appeared before the undersigned on October 16, 2020 for initial

appearance on the Probation Petition for Offender Under Supervision. (ECF No. 7.)

Defendant was advised of his rights and the violations, as required by Fed. R. Crim.

P. 32.1.

        Defendant reserved his right to detention and preliminary hearings at a later

time.

        Defendant will remain detained pending further proceedings.



        IT IS ORDERED.

Date:      October 20, 2020               /s/Maarten Vermaat
                                        MAARTEN VERMAAT
                                        U.S. MAGISTRATE JUDGE
